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EXHIBIT A
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

In the Matter of the Petition of GRACE * .
OCEAN PRIVATE LIMITED, ef al., for, Nt es
Exoneration from or Limitation of
Liability . IN ADMIRALTY
*
* * * * * * * * * * * *
CERTIFICATION

1. My name is

2. I have read Case Management Order No. 4, which is the Protective Order that has been entered
in this case, and a copy of it has been given to me. I understand the provisions of the Protective
Order, and agree to comply with and be bound by its provisions. I also consent to the jurisdiction
of this Court for purposes of enforcement of the Protective Order.

3. I declare under penalty of perjury that the foregoing is true and correct.

Executed this day of

by
(Print Name)

Signed

